Case 4:17-cv-00454-GKF-JFJ   Document 159-11 Filed in USDC ND/OK on 10/12/18   Page 1
                                        of 4




                               Exhibit J
Case 4:17-cv-00454-GKF-JFJ                 Document 159-11 Filed in USDC ND/OK on 10/12/18                                           Page 2
                                                      of 4

    From:              Gill, Robert C.
    To:                Rubman, Gary
    Cc:                Hibner-Spencer, Jennifer; dluthey@gablelaw.com; Swanson, Peter; Sawyer, Michael; Dalton, Rebecca; Roman,
                       Neil; Platt, Henry A.; Schaufelberger, Thomas S.; Darling, Jeremy B.; Flax, Sherry H.; Antonelli, Matthew; Duane
                       Zobrist; Jonathan Jacobs; JHodges@HodgesLC.com; Marty, John A.; McLin, Ian A.
    Subject:           Re: Video Gaming Technologies v. Castle Hill Studios, et al.
    Date:              Thursday, August 02, 2018 12:00:21 PM




    Gary,
    We can confirm that we did not withhold information in response to these requests, and that the supplemental
    responses are complete based on what we have and know at this time. The one caveat is we did intend to
    supplement the interrogatory asking about affirmative defenses based on the answer filed last night.

    Bob

    Sent from my iPhone

    On Aug 2, 2018, at 11:42 AM, Rubman, Gary <grubman@cov.com<mailto:grubman@cov.com>> wrote:




    Counsel,

    Can you please confirm that your supplemental responses to Interrogatory Nos. 22 and 23 and Request for
    Production Nos. 39, 40, 41 and 43 reflect all responsive information that Defendants have and that Defendants will
    not be relying on any information that is responsive to those requests that Defendants have withheld? If Defendants
    can provide such confirmation, we believe the hearing for this afternoon on the motion to compel can be cancelled.

    Best regards,

    - Gary


    Gary Rubman

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    [cid:image001.jpg@01D42A55.D1A18FC0]




    From: Hibner-Spencer, Jennifer <Jennifer.Hibner-Spencer@saul.com<mailto:Jennifer.Hibner-Spencer@saul.com>>
    Sent: Thursday, August 02, 2018 10:22 AM
    To: 'dluthey@gablelaw.com<mailto:dluthey@gablelaw.com>'
    <dluthey@gablelaw.com<mailto:dluthey@gablelaw.com>>; Rubman, Gary
    <grubman@cov.com<mailto:grubman@cov.com>>; Swanson, Peter
    <pswanson@cov.com<mailto:pswanson@cov.com>>; Sawyer, Michael
Case 4:17-cv-00454-GKF-JFJ                 Document 159-11 Filed in USDC ND/OK on 10/12/18                              Page 3
                                                      of 4

    <msawyer@cov.com<mailto:msawyer@cov.com>>; Dalton, Rebecca
    <RDalton@cov.com<mailto:RDalton@cov.com>>; Roman, Neil <nroman@cov.com<mailto:nroman@cov.com>>
    Cc: Platt, Henry A. <Henry.Platt@saul.com<mailto:Henry.Platt@saul.com>>; Gill, Robert C.
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    'JHodges@HodgesLC.com<mailto:JHodges@HodgesLC.com>'
    <JHodges@HodgesLC.com<mailto:JHodges@HodgesLC.com>>; Marty, John A.
    <john.marty@saul.com<mailto:john.marty@saul.com>>; McLin, Ian A.
    <ian.mclin@saul.com<mailto:ian.mclin@saul.com>>
    Subject: Video Gaming Technologies v. Castle Hill Studios, et al.


    Good Morning:

    Attached please find the following:


    ·         Defendants’ Supplemental Responses to Plaintiff’s Fifth Set of Interrogatories

    Please note that this document is designated as “Highly Confidential” and is subject to the Stipulated Protective
    Order which is on file in this matter.

    Please contact our office with any questions.

    Thank you,

    Jennifer
    (202) 295.6636


    <image004.jpg><http://www.saul.com/>



    Jennifer Hibner-Spencer | Paralegal

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    www.saul.com<http://www.saul.com/>



    * Please note that our Firm name and my email address have changed.




    "Saul Ewing Arnstein & Lehr LLP (saul.com<http://saul.com>)" has made the following annotations:
Case 4:17-cv-00454-GKF-JFJ                Document 159-11 Filed in USDC ND/OK on 10/12/18                               Page 4
                                                     of 4

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